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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )      2:09cr155-MHT
WILLY JOE MELGAREJO               )            (WO)

                        OPINION AND ORDER

    This cause is before the court on defendant Willy Joe

Melgarejo’s motion to continue.              For the reasons set

forth below, the court finds that jury selection and

trial, currently set for November 30, 2009, should be

continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.      The Act provides in part:


         “In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
         indictment with the commission of an
         offense shall commence within seventy
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         days from the filing date (and making
         public)    of   the    information    or
         indictment, or from the date the
         defendant has appeared before a judicial
         officer of the court in which such
         charge is pending, whichever date last
         occurs.”

18 U.S.C. § 3161(c)(1).       The Act excludes from the 70-day

period any continuance based on "findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial." § 3161(h)(7)(A).        In granting such a continuance,

the court shall consider, among other factors, whether

the failure to grant the continuance would “result in a

miscarriage of justice,” § 3161(h)(7)(B)(i), or "would

deny counsel for the defendant or the attorney for the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence."    § 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Melgarejo in a speedy trial.



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       Malgarejo contends that a continuance is necessary to

continue negotiations and resolve the case without a

trial.       This is particularly important in light of the

fact    that   Malgarejo   is    facing    the   possibility       of    a

substantial sentence, if he is convicted on all counts.

The government is unopposed to the motion.

       Accordingly, it is ORDERED as follows:

       (1)   Defendant   Willy    Joe     Melgarejo’s     motion       for

continuance (doc. no. 127) is granted.

       (2) Defendant Melgarejo’s jury selection and trial

are continued to February 8, 2010, in the Frank M.

Johnson Jr. United States Courthouse Complex, Courtroom

2FMJ, One Church Street, Montgomery, Alabama.

       DONE, this the 25th day of November, 2009.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
